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                                   EXHIBIT 4
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                  https://www.cnbc.com/video/2020/09/14/treasury-
                     CNBC Excerpts: Treasury Secretary Steven Mnuchin Speaks…
                  secretary-steven-mnuchin-on-oracle-winning-                                                           SHARE


                  bid-for-tiktoks-u-s-assets.html,
                  https://www.cnbc.com/video/2020/09/14/treasury-TRENDING NOW
                  secretary-mnuchin-now-is-not-the-time-to-
                                                                                                                                The
                  worry-about-shrinking-the-deficit.html and
                                                                                                                                supplement
                  https://www.cnbc.com/video/2020/09/14/treasury-                                                               Dr. Fauci takes
                                                                                                            1                   to help keep
                  secretary-steven-mnuchin-on-talks-for-more-
                                                                                                                                his immune
                  coronavirus-stimulus.html.                                                                                    system
                                                                                                                                healthy
                  All references must be sourced to CNBC.
                                                                                                                                PepsiCo to
                  MNUCHIN ON TIKTOK                                                                                             launch drink to
                                                                                                                                aid sleep as
                                                                                                            2                   consumers
                  WE DID GET A PROPOSAL OVER THE
                                                                                                                                struggle with
                  WEEKEND THAT INCLUDES ORACLE AS                                                                               stress
                  THE TRUSTED TECHNOLOGY PARTNER
                  WITH ORACLE MAKING MANY                                                                                       Coronavirus
                  REPRESENTATIONS FOR NATIONAL                                                                                  cases are
                                                                                                                                growing in 11
                  SECURITY ISSUES. THERE IS ALSO A                                                          3                   U.S. states as
                  COMMITMENT TO MAKE TIKTOK GLOBAL                                                                              Fauci warns of
                                                                                                                                ‘disturbing’
                  AS A U.S. HEADQUARTERED COMPANY                                                                               data
                  WITH 20,000 NEW JOBS. I’M NOT GOING
                  TO GO INTO THE ENTIRE PROPOSAL. WE                                                                            Will 2 flu shots
                  WILL BE REVIEWING THAT AT THE                                                                                 this year boost
                                                                                                                                immunity?
                  COMMITTEE THIS WEEK AND THEN                                                              4                   When is the
                  WE’LL BE MAKING A RECOMMENDATION                                                                              best time to
                                                                                                                                get it? Here’s
                  TO THE PRESIDENT AND REVIEWING IT                                                                             what doctors
                  WITH HIM.                                                                                                     say


                  MNUCHIN ON THE ECONOMY

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